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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re:                                    )
                                          )
11380 SMITH ROAD, LLC,                    )     Case No. 19-10286(TBM)
EIN: XX-XXXXXXX,                          )     Chapter 7
                                          )
        Debtor.                           )
                                          )
 _____________________________________________________________________________

                               LBR 9013-1.1 NOTICE OF MOTION


                              Objection Deadline: February 15, 2019

        NOTICE IS HEREBY GIVEN that 11380 East Smith Rd Investments, LLC (the
“Movant”), has filed a Motion to Dismiss Involuntary Bankruptcy Case (the “Motion”), with the
Court and requests the following relief: that the involuntary bankruptcy case filed by Mid America
Plastics Systems be dismissed because it was filed in bad faith and that the petitioning creditor’s
claim be recharacterized from debt to equity thereby eliminating the requirement to have a
petitioning creditor.

        If you oppose the Motion or object to the requested relief your objection and request for
hearing must be filed on or before the objection deadline stated above, served on the Movant at
the address indicated below, and must state clearly all objections and any legal basis for the
objections. The Court will not consider general objections.

        In the absence of a timely, substantiated objection and request for hearing by an interested
party, the Court may approve or grant the requested relief without any further notice to creditors
or other interested parties.

Dated:             Denver, Colorado
                   January 25, 2019
                                              MOYE WHITE LLP

                                              s/ Timothy M. Swanson
                                              Timothy M. Swanson, #47267
                                              David A. Laird, #31067
                                              Moye White LLP
                                              1400 16th Street, 6th Floor
                                              Denver, Colorado 80202
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                                  Fax: (303) 292-4510
                                  11380 East Smith RD Investments, LLC




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